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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


ERIC JERMAINE HARVEY,

       Plaintiff,
                                                    Case No. 1:20-cv-517
v.
                                                    HONORABLE PAUL L. MALONEY
M. DEPKY, et al.,

       Defendants.
____________________________/


                                        JUDGMENT

      In accordance with the Order entered on this date:

      IT IS HEREBY ORDERED that Judgment is entered.



Dated: November 12, 2021                                   /s/ Paul L. Maloney
                                                           Paul L. Maloney
                                                           United States District Judge
